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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                                CASE NO. 3:08CR22 LAC

NEVILLE MCGARITY

                                    REFERRAL AND ORDER

Referred to Judge Lacey Collier on AUGUST 27, 2008
Motion/Pleadings: AUGMENTED MOTION TO PAY FOR PRODUCTION OF DISCOVERY
DOCUMENTS
Filed by DEFENDANT                    on 8/26/08   Doc.# 276

RESPONSES:
                                                on                        Doc.#
                                                on                        Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                                WILLIAM M. McCOOL, CLERK OF COURT

                                                s/Mary Maloy
LC (1 OR 2)                                     Deputy Clerk: Mary Maloy

                                               ORDER
Upon     consideration    of       the   foregoing,      it   is     ORDERED      this   2 nd   day    of
September, 2008, that:
(a) The relief requested is DENIED.
(b)    Without    prejudice   to    re-file    in    accordance    with   Judiciary      Policies     and
Procedures,              Volume            7,         Part          A,      Chapter             3.16.
[http://jnet.ao.dcn/PFriendly/Guide/Volume_7/Section_A/Chapter_3.html]



                                                                   s /L.A. Collier
                                                                LACEY A. COLLIER
                                                      Senior United States District Judge

Entered On Docket:                       By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                   Document No.
